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                        UNITED STATES DISTRICT COURT
                                            for the
                                  Western District of Kentucky
                                      Louisville Division

Reginald Green                         )
      Plaintiff                        )
                                       )
v.                                     )              Case No.        3:17-cv-00204-TBR
                                       )
ARS Account Resolution Services et al. )
     Defendants                        )
                                       )

                     ORDER DISMISSING WITH PREJUDICE AS TO
                    DEFENDANT WAKEFIELD & ASSOCIATES, INC.

       Plaintiff Reginald Green and Defendant Wakefield & Associates, Inc., having jointly

stipulated that this case be dismissed with prejudice as to all claims against Wakefield &

Associates, Inc. as evidenced by the signatures of counsel for the parties, and the court being

sufficiently advised:

       IT IS THEREFORE ORDERED that Plaintiff Reginald Green’s claims against

Defendant Wakefield & Associates, Inc. in this action are DISMISSED WITH PREJUDICE,

with each party to bear its own costs, expenses, and fees. This order does not affect, and is not

intended to affect, Plaintiff’s claims against any other Defendant in this action.




                                                                    August 15, 2017
